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IN THE UNITED STATES DISTRICT COURT os
FOR THE DISTRICT OF DELAWARE 1

UNITED STATES OF AMERICA,

Plaintiff
V. Cr. A. No. 23-061 (MN)
ROBERT HUNTER BIDEN,

Defendant.

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UNITED STATES OF AMERICA,

Plaintiff
V. Cr. A. No. 23-mj-274 (MN)
ROBERT HUNTER BIDEN,

Defendant.

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MOTION FOR AUTHORIZATION TO FILE
ELECTRONICALLY USING THE CM/ECF SYSTEM

Christopher J. Tigani, appearing pro se, respectfully moves this Court for an
order granting authorization to file documents electronically using the CM/ECF
system. The grounds for the Motion are as follows:

1. According to information contained on the website for the U.S District
Court for the District of Delaware, a motion for authorization is required by anyone

appearing pro se to file electronically using the CM/ECF system. See

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https://www.ded.uscourts.gov/registrationtraining, { 5. The information A motion
should be filed on a case-by-case basis.

2. Paragraph 5 provides, in pertinent part, that “[t]he pro se party must
indicate that they have independently reviewed all of the materials and related topics
on the Court’s web site and have a PACER account.” Jd.

3. I represent and certify to the Court, that I have fully reviewed all of the
materials and related topics on the Court’s website. Also, I have a fully functioning
PACER account with username ChrisTigaUa. Attached as Exhibit A is my most
recent PACER invoice from July 2023.

4, Also, I am or have been granted authorization to file electronically in
every Delaware state court, including twice in the Delaware Supreme Court. I
maintain active and current accounts with File&Serve, File&Serve Express, and
~ eFlex. I have never had a single issue filing in any court, nor had the privilege to
file electronically revoked for any reason.

5. I seek authorization from the Court to file electronically, not only for
convenience, but because I currently reside in High Point, North Carolina and will
attend law school in the fall. If granted authorization, I intend on filing a Motion for
Leave to file an amicus curiae brief. Attached as Exhibit B is my email to the

opposing parties asking for their consent to file.

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WHEREFORE, I respectfully move the Court to enter an Order, in the form

attached, granting authorization to file electronically using the CM/ECF system.

Date: July 31, 2023

Respectfully Submitted,
CHRISTOPHER J. TIGANI

/s/ Christopher J_Tigani
Christopher J. Tigani
1301 Danbury Court
High Point, NC 27262
302-544-2843
ctigani@gmail.com
Appearing pro se

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CERTIFICATION OF COMPLIANCE

The undersigned hereby certifies that the foregoing contains 325 words in
Times New Roman 14-point font, counted using Microsoft Word’s word count

feature.

/s/ Christopher J_ Tigani
Christopher J. Tigani

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA, )
Plaintiff
V. ) Cr. A. No. 23-061 (MN)
ROBERT HUNTER BIDEN,
Defendant.
UNITED STATES OF AMERICA, )
Plaintiff
v. ) Cr. A. No. 23-mj-274 (MN)
ROBERT HUNTER BIDEN,
Defendant.
ORDER
AND NOW, this _ day of July, 2023, Christopher J. Tigani’s Motion for

Authorization to File Electronically using the CM/ECF system is granted.

IT IS SO ORDERED.

The Honorable Maryellen Noreika
United States District Court Judge

